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                            EXHIBIT E
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  NICARAGUA

                                                                            Barranquilla
                                                                     Cartagena
     COSTA RICA




                       PANAMA                                           Gulf of Uraba


                                                                                        Antioquia




                       Buenaventura


                                                               COLOMBIA


Clan del Golfo High-Intensity
Cocaine Trafficking Routes
     Significant Territorial Presence in Colombia
     Cocaine Export Routes through Central America and
     Mexico and Ultimately into the United States of America
